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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

___________________________________
                                   )
MARIA ALEJANDRA CELIMEN SAVINO,    )
JULIO CESAR MEDEIROS NEVES,        )
and all those similarly situated,  )
                                   )
                    Petitioners,   )
                                   )
          v.                       )              CIVIL ACTION
                                   )              NO. 20-cv-10617-WGY
STEVEN J. SOUZA,                   )
                                   )
                    Respondent.    )
___________________________________)


YOUNG, D.J.                                               April 21, 2020

                                   ORDER

       The order of submission of briefs on individual

applications for bail is as follows:


Monday, April 27, 2020, 9:00 a.m.

  1.   Amador Galindo, Diego
  2.   Blanco, Bacilio
  3.   Delapaz, Gabri
  4.   Lopez-Gonzalez, Emmanuel

       SO ORDERED.



                                               /s/ William G. Young
                                              WILLIAM G. YOUNG
                                              DISTRICT JUDGE
